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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

     NEW JERSEY DEPARTMENT Of
     ENVIRONMENTAL PROTECTION, and
     ADMINISTRATOR, NEW JERSEY SPILL                                    OPINION
     COMPENSATION FUND                                                  No. 98-cv-4781 (WHW)(CLW)

                                   Plaintiffs,
                           V.


     AMERICAN THERMOPLASTICS CORP., et al.,

                                   Defendants.


     U1’HTED STATES OF AMERICA,

                                   Plaintiff,
                           V.


     BECKMAN COULTER, INC. f/k/a BECKMAN
     INSTRUMENTS, NC., et al.,

                                   Defendants.

    Walls, Senior District Judge

           Before the Court is a motion for reconsideration submitted by Third-Party Plaintiffs

    Compaction System Corporation of Connecticut, Inc. and Compaction Systems Corporation (a

    New Jersey Corporation) (together, “Compaction”). ECF No. 135$. On July 23, 2018, the Court

    granted summary judgment in favor of third-party defendants Carter Day Industries, Inc.

    (“CDI”), Combe Fill Corporation (“CFC”), and Combustion Equipment Associates, Inc.

    (“CEA”) (collectively, the “Carter Day Parties”), and denied Compaction’s motion for partial

    summary judgment. ECF No. 1356. Compaction seeks reconsideration of that decision. ECF

    No. 135$. The United States wrote in support of Compaction’s motion, ECF No. 1367, and the




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   Carter Day Parties filed an opposition brief, ECF No. 136$. for the reasons that follow,

   Compaction’s motion is denied.

                                                BACKGROUND

           The procedural and factual history of this case is detailed in the Court’s opinion granting

   the Carter Day Parties’ motion for summary judgment and incorporated here. ECF No. 1356. In

   brief, CfC owned a landfill, operated by Compaction, on what is now the Combe Fill South

    Superfund Site (the “Site”). Rosen Cert. Exs. 1, 2, 6.

           CEA filed for Chapter 11 bankruptcy protection in 1980, Rosen Cert. Ex. 9, and emerged

   in 1983, following court approval of its reorganization plan, as CDI. Id. Ex. 16 at 32.’ In 1986,

   CDI sued the United States Environmental Protection Agency (“USEPA”) and the New Jersey

   Department of Environmental Protection (“NJDEP”) seeking a declaration that any claims of

   USEPA and NJDEP arising out of incidents at the Site had been discharged; the bankruptcy

   court granted USEPA’s motion to dismiss. In re Combustion Equipment Associates, Inc., 732

   B.R. 85 (S.D.N.Y. 1987). CDI filed another complaint in 1990, this time against only NJDEP,

   which the parties settled on November 22, 1991. Rosen Cert. Ex. 17. The court so-ordered the

   parties’ Stipulation of Settlement, which reads in pertinent part:

                   WHEREAS, on May 17, 1990, Carter Day filed in the Bankruptcy Court
           for the Southern District of New York, a complaint (the “Complaint”) against
           [NJDEP] seeking declaratory and injunctive relief to the effect that (1) Carter Day
           Inc. discharged by confirmation of CEA’s reorganization plan from all liabilities
           to NJDEP relating to or arising from the Combe Fill North and Combe Fill South
           landfills in New Jersey (the “Sites”) owned by Combe Fill Corporation, a
           subsidiary of CEA and CEA’s alleged activities with respect thereto, and (2) the
           prior disallowance of the NJDEP’s proof of claim in CEA’s Chapter 11 case had
           res judicata effect and ban-ed the NJDEP’s claims; and




            During the bankruptcy proceeding, the New Jersey Department of Environmental Protection filed a proof
   of claim, Id. Ex. 13 ¶ 2, but the United States Environmental Protection Agency did not.

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                 WHEREAS, Carter Day and NJDEP have agreed to a settlement of(a)
          NJDEP’s claims against Carter Day and (b) Carter Day’s present action against
          the NJDEP.

                  NOW, THEREFORE, IT IS AGREED TO AND STIPULATED by and
          between THE UNDERSIGNED, effective upon and subject only to, the approval
          of the United States Bankruptcy Court for the Southern District of New York, as
          follows:

                  1. Judgment is granted in favor of Carter Day on the first, second and
                     third causes of action of the Complaint;

                  2. It is adjudged and decreed that all claim of NJDEP against Carter Day
                     with respect to the Combe sites have been discharged;

                  3. NJDEP is permanently enjoined from pursuing any claims against
                     Carter Day arising out of or related to the Combe Fill sites; and

                  4. The fourth cause of action asserted in the Complaint is dismissed with
                     prejudice.

   ‘a.
          In 1998, NJDEP and the United States each sued Compaction, among many others, under

   the Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”) to

   recover past and future response costs at the Site. ECF No. 1; Civ. No. 98-48 12, ECF No. 1.

   Compaction agreed in 2009 to pay NJDEP and USEPA $11 million to reimburse those agencies’

   remediation efforts at the Site, and to accept an additional $26 million judgment against itself, to

   be paid in the event that it recovered funds from third-party defendants in excess of $11 million.

   See ECF No. 1128 (consent judgment).

          In December 2011, Compaction sued the Carter Day Parties seeking to recover a portion

   of the costs it agreed to pay USEPA and NJDEP. ECF No. 1164. Compaction’s First Amended

   Third-Party Complaint sought (1) cost recovery under CERCLA Section 107(a) (Count 1);

   (ii) contribution under CERCLA Section 113(f) (Count 2); (iii) a declaratory judgment under

   state and federal law (Count 3); (iv) contribution under the New Jersey Joint Tortfeasors

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   Contribution Act (Count 4); and (v) common-law contribution and indemnification (Count 5).

   Id.

           On February 15, 2018, the Carter Day Parties moved for summary judgment on all of

   Compaction’s claims, arguing that its 1991 settlement with NJDEP granted it contribution

   protection under CERCLA Section 113(f). ECF No. 1341-2 at 15-16. Compaction cross-moved

   for partial summary judgment. ECF No. 1342. On July 23, the Court granted the Carter Day

   Parties’ motion and denied Compaction’s. ECF No. 1357.2

                                              LEGAL STANDARD

           Local Civil Rule 7.1(i) allows a party to move for reconsideration within 14 days after

   entry of the judgment, and directs the party seeking reconsideration to submit “a brief setting

   forth the matter or controlling decisions which the party believes the Judge.           .   .   has overlooked.”

   L. Civ. R. 7.1(i) (as amended by Order of Chief Judge Garrett E. Brown, March 1, 2010). The

   Third Circuit has held that the “purpose of a motion for reconsideration is to correct manifest

   errors of law or fact or to present newly discovered evidence.” Max ‘s Seafood Cafe ex rel. Lou-

   Ann v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999) (citation omitted).

           Reconsideration motions, however, may not be used to relitigate old matters, nor to raise

   arguments or present evidence that could have been raised before the entry ofjudgment. Charles

   A. Wright, Arthur R. Miller & Mary Kay Kane, federal Practice and Procedure                       § 2810.1. “A
   party seeking reconsideration must show more than a disagreement with the Court’s decision,

   and recapitulation of the cases and arguments considered by the court before rendering its

   original decision fails to carry the moving party’s burden.” Gutierrez v. Ashcroft, 289 F. Supp.



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            Compaction had also moved for estoppel, ECF No. 1343, and spoliation sanctions, ECF No. 1344.
   Because the Court granted the Carter Day Parties’ motion for summary judgment on all counts, the Court denied
   these other motions as moot. ECF No. 1356 at 26-27.

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   2d 555, 561 (D.N.J. 2003) (quoting G-69 v. Degnan, 748 F. $upp. 274, 275 (D.N.J. 1990)). Such

   motions will only be granted where (1) an intervening change in the law has occurred, (2) new

   evidence not previously available has emerged, or (3) the need to correct a clear error of law or

   prevent a manifest injustice arises. North River Ins. Co. v. CIGNA Reins. Co., 52 F.3d 1194,

    1218 (3d Cir. 1995).

           Because reconsideration of a judgment after its entry is an extraordinary remedy, requests

   pursuant to these rules are to be granted “sparingly,” and only when “dispositive factual matters

   or controlling decisions of law” were brought to the court’s attention but not considered.

   Yurecko v. Fort Auth. Trans-Hudson Corp., 279 F. Supp. 2d 606, 608-09 (D.N.J. 2003); NL

   Indus. Inc. v. Commercial Union Ins. Co., 935 F. Supp. 513, 516 (D.N.J. 1996); Fe/ham v.

   United States, 661 F. Supp. 1063, 1065 (D.N.J. 1987).

                                              DISCUSSION

     I.    Compaction’s Motion for Reconsideration

           The Court granted summary judgment to the Carter Day Parties after finding that they are

   entitled to contribution protection under CERCLA Section 113(0(2). ECF No. 1356 at 17.

   Compaction asks this Court to reconsider only one part of that decision: that by settling with

   NJDEP in 1991, the Carter Day Parties “obtained a complete release from the claims of’ USEFA

   “arising out of’ the Site. ECF No. 1358-1 at 1.

              a. Legal Standard under CERCLA Section 113(fi(2)

           Section 113(0(2) provides that “[a] person who has resolved its liability to the United

   States or a State in an administrative or judicially approved settlement shall not be liable for

   claims for contribution regarding matters addressed in the settlement.” 42 U.S.C.     § 9613(0(2).
   CDI’s NJDEP settlement qualifies for contribution protection if(i) the settlement was



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    “administrative[ly] or judicially approved” and (ii) Compaction’s current demand for

    contribution is for the same “matters addressed in the {NJDEP] settlement.” Compaction does

   not dispute that the 1991 settlement, which was so-ordered by the court, was “judicially

    approved.”

           Regarding the “matters addressed” prong, “[t]he analysis adopted by federal courts to

    determine whether a contribution action is barred by a prior consent decree or settlement is to

    consider whether the subject matter of the settlement and the contribution action are the same.”

   ASARCOLLCv. Shore Terminals LLC, Civ. No. 11-1384, 2012 WL2050253, at *7 (N.D. Cal.

    June 6, 2012). Settlement agreements often contain an explicit statement of the “matters”

    covered by them. See, e.g., Alcan Aluminum Corp. v. Butler Aviation-Boston, Inc., Civ. No. 02-

    0562, 2003 WL 22169273, at *4 (M.D. Pa. Sept. 19, 2003). Where they do not, courts turn to

   the text of the agreement as a starting point for interpreting the scope of the matters addressed.

   See United States v. Charter Intern. Oil Co., 83 f.3d 510, 517-18 (1st Cir. 1996) (“We confine

   ourselves to the text of the decree and find the answer there, thus not reaching the issue of what

   other interpretive guides, if any, are permissible under CERCLA.”). When interpreting such an

   agreement, courts look to various factors, including but not limited to “the particular location,

   time frame, hazardous substances, and clean-up costs covered by the agreement.” Akzo

    Coatings, Inc. v. Aigner Corp., 30 F.3d 761, 766 (7th Cir. 1994). The relevance of these and

   other factors “will vary with the facts of the case.” Id.

                 b. Compaction ‘s Challenge to the Court’s July 23, 2018 Opinion

           The Carter Day Parties moved for summary judgment on the grounds that CERCLA

   Section 1 13(f)(2) bars contribution claims against settling parties, ECF No. 1341-2 at 15-17, and

   the Court agreed. ECF No. 1356 at 17-23. To reach this conclusion, the Court first held that



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   CDT’s settlement with NJDEP was “sufficient to trigger the Section 113(f) bar” because the

   “plain language” of that provision extends contribution protection to those who settle with “the

   United States or a State[.J” Id. at 19-20 (emphasis in original). The Court then found that such

   settlement protection was warranted in this case because the NJDEP settlement was both

   “judicially approved” and because the “matters addressed” in that settlement include the subject

   matter of USEPA’s claims. Id. at 2 1-23. Compaction did not dispute that the settlement was

   “judicially approved.” Id. at 21. Because the Court determined that the “matters addressed” in

   the settlement “must include the claims for environmental clean-up costs that Compaction agreed

   to reimburse to the NJDEP,” the Court found the USEPA claims—which involve environmental

   clean-up costs to remediate the same damage at the same site—to be part of those same “matters

   addressed.” Id. at 22.

          The crux of Compaction’s motion is that the Court erred by construing USEPA’s claims

   as part of the “matters addressed” in the NJDEP settlement. See ECF No. 1358-1 at 11-13.

   Compaction argues that “the NJDEP Settlement related exclusively to claims between CEA/CDI

   and NJDEP, and not claims by the USEPA.” Id. at 12. Compaction bases this assertion on the

   text of the NJDEP settlement, which discusses only NJDEP’s claims. Id. at 13. Indeed, as

   Compaction points out—and no one disputes—the Carter Day Parties “never settled with the

   USEPA.” Id. at 1. Consequently, according to Compaction, the Court erred in considering the

   USEPA’s claims against the Carter Day Parties part of the “matters addressed” in the NJDEP

   settlement.

          Compaction also argues that the Court’s opinion creates a manifest injustice in disrupting

   the “very specific relationship” between the federal government and the states created by

   CERCLA. Id. at 8. According to Compaction, “the Federal and State governments have



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   different roles and different legal rights, [so] every $uperfund site requires the PRPs to enter into

   two settlements—one with the State and one with the federal Government.” The Court’s

   opinion, then, by allowing the Carter Day parties to invoke the contribution bar for both federal

   and state claims, “flies directly in the face of CERCLA Section 104 and the delicate balance of

   federalism it creates.” Id. at ii. The United States agrees with Compaction: “It would be

   enormously inefficient, and contrary to the design of CERCLA, if the United States had to

   pursue directly all liable parties in order to recover response costs.   .   .   .   This Court’s decision

   may impede the United States from securing settlements at other Superfund sites, if potential

   settlors’ believe their contribution rights against third-parties may be barred as a result of state

   settlements for state costs.” Id. 6-7.

               c. The Court Will Not Reconsider Its Summary Judgment Decision.

          The Court refers the parties to its full discussion in its earlier opinion explaining why

   Compaction’s claims are part of the “matters addressed” in the NJDEP settlement. See ECF No.

   1356 at 2 1-23. Contrary to Compaction’s contention this conclusion does not create “a manifest

   injustice.” North River Ins. Co., 52 F.3d at 1218.

          Compaction argues that injustice “would result from interfering with the allocation of

   responsibility with respect to CERCEA sites between the USEPA and the States.” ECF No.

   135$-i at 7. The United States concurs: “This Court’s decision may impede the United States

   from securing settlements at other Superfund sites, if potential settlors’ believe their contribution

   rights against third-parties may be barred as a result of state settlements for state costs.” ECF

   No. 1367 at 6-7. But reconsideration will only be granted “only if there is a dispositive factual or

   legal matter that was presented but not considered which would have reasonably resulted in a

   different conclusion by the court.” Litgo New Jersey, Inc. v. Martin, No. 06-2891 AET, 2011



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   WL 65933, at *2 (D.N.J. Jan. 7, 2011), aff’d sub nom. Litgo New Jersey Inc. v. Comm ‘r New

   Jersey Dep ‘t ofEnvtl. Frot., 725 F.3d 369 (3d Cir. 2013). Neither Compaction nor the United

   States points to any case demonstrating that their policy concerns are dispositive of the Section

    113(0(2) analysis. That provision’s plain language—particularly its use of the disjunctive

   phrase “to the United States or a State,” see ECF No. 1356 at 19 (emphasis in original) (quoting

   42 U.S.C.   § 9613(f)(2))—is sufficient to support the Court’s original decision that settlement
   with a state government only grants a party contribution protection where that settlement

   “addressed” the same “matters” as separate federal claims. The Court determined that the

   “matters addressed” in the state and federal claims are the same, ECF No. 1356 at 2 1-23, and

   neither the United States nor Compaction has cast doubt on that conclusion.

           Compaction has not identified “a clear error of law” warranting reconsideration of the

   Court’s July 23, 2018 decision. North River Ins. Co., 52 F.3d at 1218. Compaction’s principal

   ground for reconsideration is that the Court erred in determining that the USEPA claims were

   part of the “matters addressed” in the NJDEP settlement—but Compaction made this same

   argument in its summary judgment papers. As this Court noted in granting summary judgment,

   “Compaction’s sole contention relating to the ‘matters addressed’ by the 1991 NJDEP settlement

   is that they do not include any claims by the USEPA.” ECF No. 1356 at 22 (citing ECF No.

   1347 at 21-24). Compaction merely reiterates that argument here. Compaction does not raise

   any binding decisions that the Court overlooked, instead urging the Court to draw a different

   conclusion from two cases the Court considered: United States v. Southeastern Pennsylvania

   Transp. Authority, 235 F.3d 817 (3d Cir. 2000), and Akzo Coatings, Inc. v. Aigner Corp., 30 F.3d

   761 (7th Cir. 1994). See ECF No. 1358-1 at 11-12. That Compaction disagrees with the way the

   Court applied those opinions to this case is not proper grounds for reconsideration.



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           Compaction further argues that this Court “failed to recognize” the statement in Az/co that

    “the ‘matters addressed’ by a consent decree must be assessed in a manner consistent with both

    the reasonable expectations of the signatories and the equitable apportionment of costs that

    Congress has envisioned.” ECF No. 1358-1 at 12 (quoting Azko, 30 f.3d at 765). But the Court

    did not overlook this point. First, Az/co is not binding on this Court. Second, just because the

    Court did not quote the above passage does not mean the Court failed to consider it. The Court

    could not consider “the reasonable expectations of the signatories” because there was no record

    evidence of such expectations. As Compaction points out, the text of the settlement order is “the

    only evidence of that settlement.” ECF No. 1358-1 at 2. The Court considered the text of that

    order under prevailing Third Circuit law. See ECF No. 1356 at 21. That Compaction disagrees

    with the Court’s conclusion is not grounds for reconsideration.

           Nor has Compaction identified any “manifest errors of.     .   .   fact” in the Court’s opinion.

    Quinteros, 176 F.3d at 677. It asserts that the Court overlooked “the facts based upon which the

    claims by the USEPA were separate and distinct from the claims by the NJDEP[.J” ECF No.

    13 58-1 at 7. But Compaction does not raise any facts outside the text of the settlement order.

    That order was in the summary judgment record, see Rosen Cert. Ex. 17, and the Court quoted it

    in determining the “matters addressed” therein, see ECF No. 1356 at 21. That the settlement

    order only mentioned NJDEP’s claims and not USEPA’s claims is not a new fact that could

    support reconsideration.




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                                         CONCLUSION

          Compaction’s motion for reconsideration is denied. An appropriate order follows.




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                                              Senior United States District Court Judge




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